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                  United States Court of Appeals
                              FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                       ____________
No. 23-5154                                                  September Term, 2022
                                                                        1:19-cv-02367-ABJ
                                                         Filed On: July 19, 2023
In re: Merrick B. Garland, in his official
capacity as Attorney General, et al.,

              Petitioners


       BEFORE:        Wilkins and Walker, Circuit Judges

                                             ORDER

       Upon consideration of the petition for writ of mandamus, it is

         ORDERED, on the court’s own motion, that respondents Peter Strzok and Lisa
Page enter appearances and file a response to the petition, not to exceed 7,800 words,
within 14 days of the date of this order. See Fed. R. App. P. 21(b); D.C. Cir. Rule
21(a), (b). Petitioners may file a reply, not to exceed 3,900 words, within 7 days after
the filing of the response.

       The Clerk is directed to transmit a copy of this order to the district court.


                                         Per Curiam


                                                           FOR THE COURT:
                                                           Mark J. Langer, Clerk

                                                   BY:     /s/
                                                           Amanda Himes
                                                           Deputy Clerk
